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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA
                                    (MIAMI DIVISION)

  PANDORA A/S, et al.,                        *

         Petitioners,                         *

  v.                                          *       Case No. 1:18-cv-21074-JAL

  B&B JEWELRY, INC.                           *

         Respondent.                          *

  *      *      *       *      *       *      *       *       *      *       *      *       *

                   MEMORANDUM IN SUPPORT OF PETITIONERS’:
                     (1) OBJECTIONS TO REMOVAL UNDER THE
                  ALL WRITS ACT, 16 U.S.C. § 1651(a) AND (2) MOTION
               TO STRIKE REFERENCES THERETO FROM DEFENDANT’S
                              NOTICE OF REMOVAL

         Petitioners Pandora A/S and Pandora Jewelry, LLC (together “Pandora” or “Petitioners”),

  by and through their undersigned attorneys, submit the Memorandum in Support of Petitioners’:

  (1) Objections to Removal under the All Writs Act, 16 U.S.C. § 1651(a) and (2) Motion to Strike

  References thereto from Defendant’s Notice of Removal.

                                        INTRODUCTION

         Pandora brings this action to confirm a foreign arbitral award recently entered in favor of

  Pandora in an arbitration proceeding administered by the Danish Institute of Arbitration (the

  “DIA”). The arbitration involved a dispute between the parties arising out of written agreements

  dated August 1, 2012 between B&B and Pandora A/S, pursuant to which B&B served as an

  exclusive distributor and franchisor of PANDORA® jewelry in certain South American countries.1



  1
   The relevant contracts are: (1) a Master Distribution Agreement commencing from August 1,
  2012 (the “MDA”); and (2) a Master Franchise Agreement, commencing from August 1, 2012 (the
  “MFA”). Copies of the MDA and MFA are attached as Exhibits 2 and 3 to Pandora’s Petition to
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  The written agreements at issue are governed by Danish law and provide for arbitration of disputes

  under the rules of the DIA. In its Final Award, the Sole Arbitrator entered a declaratory judgment

  that under applicable Danish law the 2012 Agreements did not expire at the end of their Initial

  term on July 31, 2015, but were extended by course of performance so as to expire on July 31,

  2017. (Final Award, Petition Ex. 1).

           Pandora seeks confirmation of the Final Award pursuant to Section 207 of the Federal

  Arbitration Act (“FAA”), as it implements the Convention on the Recognition and Enforcement

  of Foreign Arbitral Final Awards of June 10, 1958, 21 U.S.T. 2517 (the “Convention”). 9 U.S.C.

  § 207.     Consistent with the concurrent jurisdiction of state and federal courts under the

  Convention,2 Pandora filed this suit in the Circuit Court of the 11th Judicial Circuit in and for

  Miami-Dade County, Florida (the “State Court”) on February 22, 2018. By Notice dated March

  21, 2018, Respondent B&B Jewelry, Inc. (“B&B”) removed this case on two grounds: (1) pursuant

  to 9 U.S.C. § 205, which permits removal of actions related to the Convention; and (2) pursuant to

  the All Writs Act, 16 U.S.C. § 1651(a), which, authorizes a federal court, in exceptional

  circumstances, to issue orders necessary to prevent a state court from frustrating the

  implementation of a prior federal order.




  Confirm Foreign Arbitration Award (the “Petition”). Hereinafter, the MDA and MFA shall
  collectively be referred to as the 2012 Agreements. Pandora incorporates herein by reference the
  exhibits attached to its Petition. As of the date of this filing, B&B has not yet filed a copy of the
  Petition and its Exhibits with the Court, preventing Petitioner from cross-referencing their ECF
  Numbers.
  2
    Although Chapter 2 of the FAA vests original jurisdiction over Convention cases in the federal
  district courts, federal jurisdiction under the FAA is not exclusive and foreign arbitral awards can
  be enforced under the FAA in state court. Benefit Assoc. Int.’l, 816 So. 2d 164, 166 (Fla. 3rd DCA
  2002) (citing Allied Bruce Terminix Companies, Inc., 513 U.S. 265, 269-73 (1995)); see also
  McDermott Int.’l Inc. v. Lloyds Underwriters of London, 944 F.2d 1199, 1208 (5th Cir. 1991)
  (recognizing concurrent jurisdiction over Convention cases in federal and state courts).
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            Although the Petitioners acknowledge and do not contest B&B’s removal of this action

  pursuant to 9 U.S.C. § 205, they object to removal under the All Writs Act as that statute is

  inapplicable to this case. First, federal law is clear that the All Writs Act does not provide a basis

  for removing a state court proceeding. Syngenta Crop Protection, Inc. v. Henson, 537 U.S. 28, 33

  (2002).     Secondly, confirmation of the Final Award in this case would not frustrate the

  implementation of this Court’s prior order in a separate action in which it remanded claims asserted

  by B&B against Pandora Americas and one of its employees, Franck Saragossi, (collectively the

  “U.S. Defendants”) for lack of subject matter jurisdiction. See B&B Jewelry, Inc. v. Pandora

  Jewelry, LLC, 247 F.Supp.3d 1283 (S.D. Fla. 2017) (the “Remand Order”).3 This Court’s

  procedural Remand Order in the B&B Action did not preclude Pandora A/S from seeking a

  declaratory judgment under Danish law regarding the disputed expiration of the 2012 Agreements

  in the context of the DIA arbitration proceedings.

            Moreover, the procedural Remand Order resolved only the question of federal subject

  matter jurisdiction over B&B’s claims, was not appealable to the Eleventh Circuit and did not

  preclude the State Court from revisiting the arbitrability of B&B claims upon remand of the B&B

  Action. In the Remand Order, this Court found that the U.S. Defendants “failed to meet their

  burden of establishing federal subject matter jurisdiction” based on a limited record, in which B&B

  asserted that after the alleged expiration of the 2012 Agreements, B&B had entered into a separate

  verbal agreement with Pandora Americas. Id., 247 F.Supp.3d at 1287. In the context of the

  remanded proceedings in the State Court, B&B’s principal, Rafael Bild, admitted under oath that




  3
    This Court’s prior Remand Order was issued in Civil Action No. 1:17-cv-20198-UU. Upon
  remand, B&B’s claims have proceeded in the State Court in a civil action encaptioned B&B
  Jewelry Inc. v. Pandora Jewelry LLC, et al., Case No. 2016-032176 CA 01. Hereinafter, this
  separate suit filed by B&B shall be referred to as the “B&B Action.”
                                                    3
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  B&B and Pandora Americas never reached the alleged “verbal agreement” he described in the

  Affidavit previously relied upon by this Court in its Remand Order. In light of Mr. Bild’s testimony

  in contradiction of his own prior Affidavit, the State Court during a hearing held on February 23,

  2018 granted the U.S. Defendants’ Motion to Compel Arbitration of B&B’s claims to the DIA – a

  motion that this Court did not address and denied as moot in its earlier Remand Order.4 At that

  hearing, the Honorable Rodolfo Ruiz of the State Court granted the U.S. Defendants’ Motion to

  Compel Arbitration of B&B claims as asserted in the B&B Action, and indicated that he would

  enter a written Memorandum Opinion and Order to that effect.

         Thus, as explained below, the All Writs Act neither provides grounds for removal, nor is

  otherwise applicable to this case. This Court, therefore, should strike those portions of the Notice

  of Removal invoking the All Writs Act and proceed with the merits of Pandora’s Petition to

  confirm the Final Award in accordance with Sections 205 and 207 of the Convention.

                       FACTUAL AND PROCEDURAL BACKGROUND

         Under the 2012 Agreements, Pandora A/S granted B&B exclusive distribution and

  franchise rights for the sale of PANDORA® jewelry in certain South American countries. MDA§

  4.1; MFA §§ 4.1 - 4.3. The 2012 Agreements are “governed in all respects in accordance with

  Danish law and shall be construed and take effect as an agreement made in Denmark.” MDA §

  28.1; MFA § 32.1. With respect to dispute resolution, the Agreements provide as follows:

                 PANDORA shall have the right to enforce any dispute or claim arising out
                 of or in connection with this agreement in accordance with the Rules of
                 Arbitration Procedure of the Danish Institute of Arbitration. The venue of
                 arbitration shall be Copenhagen. The language of the proceeding shall be
                 English.


  4
   As of the date of this filing, Judge Ruiz has not yet issued his Opinion and Order. In lieu of that
  Order, Pandora attaches hereto as Exhibit 1 the transcript of the February 23, 2018 hearing before
  Judge Ruiz. Pandora will supplement this filing with a copy of Judge Ruiz final Memorandum
  Opinion and Order when it is entered.
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  Id. ¶ 7 (citing MDA § 28.2; MFA § 32.2) (emphasis added).

         In 2016, a dispute arose between the parties as to when the 2012 Agreements expired. B&B

  alleged that the 2012 Agreements had expired at the end of their initial 3-year term on July 31,

  2015 (the “Initial Term”), and that its continuing franchise and distribution activities after that date

  were governed by a separate verbal agreement between B&B and Pandora Americas. (Final

  Award ¶¶ 2; 142; 147, Petition Ex. 1). Pandora maintained that the 2012 Agreements were

  extended by course of performance beyond their Initial Term and into a two-year renewal term

  ending on July 31, 2017 (the “Renewal Term”), and, as such, the 2012 Agreements continued to

  govern B&B’s franchise and distribution activities in South America during the Renewal Term.

  (Final Award ¶146, Petition Ex. 1).

         Premised on its claims of a separate verbal agreement with Pandora Americas, on

  December 16, 2016, B&B filed the B&B Action in the State Court. (Final Award ¶ 16(a), Petition

  Ex. 1). On January 17, 2017, Pandora initiated its arbitration proceedings by filing a Statement of

  Claim with the DIA in Copenhagen, Denmark. See Pandora A/S, et al. v. B&B Jewelry Inc., DIA

  No. E-2588 (the “DIA Arbitration”). (Final Award ¶ 14, Petition Ex. 1). In its Statement of Claim,

  Pandora sought a declaration that, under governing Danish law, the 2012 Agreements were not

  assigned to Pandora Americas, Pandora A/S remained the contracting party, and the 2012

  Agreements were extended by course of performance through the Renewal Term. (Final Award ¶

  67, Petition Ex. 1). Although Pandora A/S was the primary claimant in the DIA Arbitration,

  Pandora Americas also participated as a Claimant for the sole purpose of asserting an alternative

  claim that if found to have been assigned rights under the 2012 Agreements by Pandora A/S, the

  2012 Agreements still continued by course of performance. (Id.) The Sole Arbitrator ultimately

  found that Pandora A/S had not assigned the 2012 Agreements to Pandora Americas and Pandora

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  A/S was the contracting party under the 2012 Agreements during both the Initial Term and the

  Renewal Term. (Id. ¶¶ 200-04).

  A.     The Remand Order in the B&B Action5

         The day after Pandora filed the arbitration, on January 18, 2017, the U.S. Defendants

  removed the B&B Action to this Court pursuant to 9 U.S.C. § 205. Simultaneous with the removal

  of the B&B Action, the U.S. Defendants moved to compel arbitration of B&B’s claims in the DIA.

  In response to the U.S. Defendants’ preliminary motions in this Court, B&B amended its initial

  Complaint, dropping a claim for breach of oral agreement in favor of the series of Florida statutory

  and related tort claims as set forth in an Amended Complaint. (See B&B Action (Fed) ECF No.

  16). The U.S. Defendants again moved to compel arbitration. (See B&B Action (Fed) ECF No.

  21). B&B cross-moved to remand the B&B Action back to the State Court for lack of subject

  matter jurisdiction. (See B&B Action (Fed) ECF. No. 18).

         Focusing only on the briefing on B&B’s Motion to Remand and the Affidavit of B&B’s

  Rafael Bild, this Court remanded the B&B Action finding that Defendants “failed to meet their

  burden in establishing that this Court has jurisdiction.” 247 F.Supp.3d. at 1287. This Court did

  so on a limited record and based on a finding that the Defendants, “did not attach any evidence or

  affidavits” in responding to B&B's Motion to Remand. Id.6 For the limited purpose of deciding



  5
    References to the record in the B&B Action will be indicated by the docket numbers of the
  pertinent pleadings and documents filed in this Court and in the State Court. If filed in this Court,
  references shall appear as “B&B Action (Fed) ECF No.” If filed in State Court, references shall
  appear as “B&B Action (State) Dkt. No.” The docket sheet for the B&B Action when pending in
  this Court is attached hereto as Exhibit 2. The docket sheet for the B&B Action as currently
  pending in the State Court is attached hereto as Exhibit 3.
  6
    In the context of simultaneous briefing on the U.S. Defendants’ Motion to Compel Arbitration,
  the U.S. Defendants submitted: (i) a Declaration of Franck Saragossi, attached to the U.S.
  Defendants’ Motion to Compel Arbitration, B&B Action (Fed) ECF No. 4-1; and (ii) a Second
  Declaration of Franck Saragossi attached to its Reply in Support of the Motion to Compel
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  federal subject matter jurisdiction over the B&B Action, therefore, this Court accepted as

  “undisputed” Mr. Bild’s testimony that “upon the expiration of the 2012 Agreements, Plaintiff and

  Defendant, Pandora Americas, continued to do business pursuant to a new verbal agreement and

  related understandings” and that B&B’s claims arose out of alleged “breaches that occurred

  subsequent to the MDA’s and MFA’s expiration.” Id. This Court further noted that the 2012

  Agreements were with “Pandora Denmark, not Pandora Americas” and rejected the U.S.

  Defendants’ attempt to invoke the arbitration agreement of Pandora A/S pursuant to theories of

  equitable estoppel, agency and third-party beneficiary. Id. at 5 n. 2. Based on these findings, this

  Court denied as moot and, therefore, did not consider the Defendants’ Motion to Compel

  Arbitration and its supporting Declarations that genuinely disputed the purported verbal agreement

  between B&B and Pandora Americas and supported the U.S. Defendants’ right to invoke the

  arbitration provisions of the 2012 Agreements on behalf of Pandora A/S. Id. at 6-7.

         Additionally, throughout the B&B Action, Pandora consistently maintained the underlying

  question of whether the 2012 Agreements expired in 2015 or were extended by course of

  performance into the Renewal Term was a substantive question of Danish law for the arbitrator to

  decide in the context of the DIA Arbitration. (B&B Action (Fed), ECF No. 21 at 7 n.4 (“Pandora

  Americas disputes that the Agreements have expired, but that is an issue for the arbitrator, not this

  Court”) (citing Sourcing Unlimited, Inc. v. Asimco Int’l, Inc., 526 F.3d 38, 47 (1st Cir. 2008));

  B&B Action (Fed), ECF No. 23, n. 7 (same); B&B Action (Fed), ECF No. 33 at 2 (“Defendants



  Arbitration, B&B Action (Fed) ECF No. 33-1. In these Declarations, Mr. Saragossi disputed
  Bild’s assertion that Pandora Americas entered into a separate verbal agreement with B&B, and
  testified that upon expiration of their Initial Term, the parties continued to do business pursuant to
  the 2012 Agreements. Saragossi Decl., ¶ 8; Saragossi 2nd Decl., ¶¶ 8-9 In its Remand Order, this
  Court did not consider these Declarations and denied the U.S. Defendants’ Motion to Compel
  arbitration as “moot.” Remand Order, 247 F.Supp.3d at 1287.


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  dispute those assertions [that the Agreements expired by their express terms…] which form the

  very basis of the arbitration proceeding now proceeding before the [] DIA….this Court need not

  resolve that underlying factual dispute…”); see also id. at 4 (same)).

  B.     Post-Remand Proceedings in the B&B Action

         As this Court did not consider Defendants’ Motion to Compel Arbitration, the U.S.

  Defendants renewed their motion upon remand of the case back to the State Court. After full

  briefing by the parties (B&B Action (State) Dkt. Nos. 22, 68 & 73), the Honorable Monica Gordo,

  on November 14, 2017, held an initial hearing on Defendants’ Motion to Compel Arbitration, but

  deferred ruling on that motion pending completion of a final hearing on Pandora A/S’s declaratory

  judgment claims in the DIA Arbitration. (B&B Action (State) Dkt. No. 102, exhibit C thereto,

  11/14/17 Transcript).

         During the pendency of the Motion to Compel Arbitration in State Court, B&B moved for

  a temporary injunction. On December 19, 2017, Judge Gordo held an evidentiary hearing on

  B&B’s Motion for Temporary Injunction. (B&B Action (State) Dkt. No. 102, exhibit A thereto,

  12/19/17 Transcript).7 During the injunction hearing, B&B’s principal, Rafael Bild, contradicted

  his earlier Affidavit relied upon by this Court in its Remand Order. In his earlier Affidavit, Mr.

  Bild stated that upon the alleged expiration of the 2012 Agreements, B&B and Pandora Americas

  continued to do business pursuant to “a new verbal agreement and related understandings” as

  reflected in an unexecuted draft Master Franchise and Distribution Agreement (the “Draft

  MFDA”) exchanged between the parties in 2015. (B&B Action (Fed) ECF No. 18-3, Bild Aff.,

  ¶¶ 9-16). At the injunction hearing, however, Mr. Bild not only admitted that the parties never




  7
   Pertinent portions of the December 19, 2017 transcript of the injunction hearing are attached
  hereto as Exhibit 4.
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  agreed to the terms of the draft MFDA, but that B&B objected to many of those terms because

  they deviated from the provisions of the 2012 Agreements. (Ex. 4, 12/19/17 Tr. at 73:9-74:11;

  82:10-22; 93:21-98:16). He further conceded that upon expiration of the Initial Term of the 2012

  Agreements on July 31, 2015, the parties continued to do business as they had before that date.

  (Id. at 64:24-73:8). In fact, Mr. Bild admitted that after the purported expiration of the 2012

  Agreements, B&B entered sub-franchise agreements with customers that were expressly made

  pursuant to the MFA. (Id. at 144:25-147:13). In other words, after July 31, 2015, the parties

  continued to conduct business in accordance with the 2012 Agreements, and nothing from the

  Draft MFDA was incorporated into that conduct.

         Based on this testimony, Judge Gordo denied B&B’s request for a temporary injunction

  relying, in part, on her finding that the alleged oral agreement between B&B and Pandora Americas

  did not exist. (Id. at 187:3-5 (finding that “there is no agreement period, between the parties. That

  was testified to by the plaintiff himself.” (emphasis added))). In its Notice of Removal, B&B

  mischaracterizes this finding by arguing that “Judge Gordo found that no agreement, much less an

  agreement to arbitrate existed.” (ECF No. 1, ¶ 9). Judge Gordo’s finding at the injunction hearing

  referenced the absence of the alleged oral agreement between B&B and Pandora Americas, but

  did not speak to the 2012 Agreements and the applicability of the their arbitration provisions to

  B&B’s claims in the B&B Action. In his later ruling, Judge Ruiz held that B&B’s claims, in fact,

  were subject to the arbitration under the 2012 Agreements. (Ex. 1, 2/23/18 Tr. at 117:13-128:14).

         In light of the intervening injunction hearing and the reassignment of the B&B Action to

  Judge Ruiz, the State Court accepted supplemental briefing on the Motion to Compel Arbitration

  (B&B Action (State), Dkt. Nos. 102 & 103), and held a second hearing on that Motion on February

  23, 2018. (B&B Action (State), Dkt No. 105). In light of Mr. Bild’s testimony in contradiction



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   of his own prior Affidavit, Judge Ruiz granted the U.S. Defendants’ Motion to Compel Arbitration

   of B&B’s claims to the DIA – a motion that this Court did not address and denied as moot in its

   earlier Remand Order.

   C.     This Action Seeking Confirmation of the Final Award in the DIA Arbitration

          In the interim, the DIA proceedings were resolved in Pandora’s favor, and on February 22,

   2018, Pandora filed this action in State Court seeking to confirm the Final Award in the DIA

   Arbitration. In its Final Award (as it incorporated an earlier Partial Award on Jurisdiction),8 the

   Sole Arbitrator found that this Court’s procedural Remand Order did not preclude it from resolving

   the substantive question of Danish law regarding the disputed expiration of the 2012 Agreements.

   (Partial Award, ¶¶ 32-56, Petition Ex. 4). On the merits, the Sole Arbitrator found that the 2012

   Agreements were not assigned to Pandora Americas, Pandora A/S remained the contracting party,

   and the 2012 Agreements were extended by course of performance through the Renewal Term.

   (Final Award, ¶¶ 218.1; 218.4, Petition Ex. 1). In further compliance with governing Danish law,

   the arbitrator awarded Pandora its costs (including its reasonable attorneys’ fees) incurred in

   connection with the arbitration. (Final Award, ¶¶ 218.5; 218.6, Petition Ex. 1).

          By Notice dated March 21, 2018, Respondent B&B Jewelry, Inc. (“B&B”) removed this

   case based in part on the All Writs Act. (ECF No. 1, Notice of Removal, ¶¶ 19-25). In its Notice

   of Removal, B&B asserts that Pandora’s pursuit of its declaratory judgment claim in the DIA

   Arbitration and the requested confirmation of the Final Award contravened this Court’s Remand

   Order in the B&B Action. (Id., ¶¶ 7, 12, 19-25). B&B further references the post-remand




   8
     A copy of the Sole Arbitrator’s Partial Award on Jurisdiction dated June 23, 2017 (“Partial
   Award”) is attached as Exhibit 4 to the Petition. The Final Award adopts and incorporates by
   reference, the Partial Award. (Final Award, ¶ 131, Petition Ex. 1).
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   proceeding in the State Court on the U.S. Defendants’ Motion to Compel Arbitration as being

   inconsistent with this Court’s Remand Order. (Id., ¶¶ 9-11).

                                             ARGUMENT

          B&B’s invocation of the All Writs Act as grounds for removing this case is baseless and

   all references to it should be stricken from the Notice of Removal pursuant to Rule 12(f) of the

   Federal Rules of Civil Procedure (“FRCP”).

   A.     The All Writs Act Does not Provide a Basis for Removal

          The All Writs Act provides: “The Supreme Court and all courts established by Act of

   Congress may issue all writs necessary or appropriate in aid of their respective jurisdictions and

   agreeable to the usages and principles of law.” 28 U.S.C. § 1651(a). The All Writs Act “gives

   federal courts the power to issue injunctions in aid of their jurisdiction” and “empowers federal

   courts to issue injunctions to protect or effectuate their judgments.” Wesch v. Folsom, 6 F.3d 1465,

   1470 (11th Cir. 1993). Federal courts may exercise this power in “appropriate circumstances,”

   where a person is “in a position to frustrate the implementation of a court order or the proper

   administration of justice.” United States v. N.Y. Tel. Co., 434 U.S. 159, 174 (1977).

          The Supreme Court has held that the All Writs Act does not furnish removal jurisdiction

   because it confers no independent basis for federal jurisdiction. Syngenta Crop Protection, Inc. v.

   Henson, 537 U.S. 28, 33 (2002) (“Because the All Writs Act does not confer jurisdiction on the

   federal courts, it cannot confer the original jurisdiction required to support removal pursuant to §

   1441.”). Thus, B&B’s reliance on the pre-Syngenta case in Nowling v. Aero Services International,

   Inc., 734 F. Supp. 733, 738 (E.D. La. 1990) as support for removal under the All Writs Act is

   misplaced and contrary to current federal law. In addition, Nowling is factually distinguishable

   from this case as the prior federal order at issue was from a case in which a federal court had



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   previously issued “findings of fact and a stipulated order of dismissal” in conjunction with a

   settlement. Litigation of that earlier case prior to the court issuing its findings was described as

   “combat . . . without mercy, including three days of trial prior to settlement. No issue went

   unexamined or unchallenged.” 734 F. Supp. at 740 (emphasis added). In sharp contrast, the

   Remand Order at issue here was a non-binding procedural ruling based on a limited record and

   premised on an Affidavit that has since been contradicted by the affiant himself. Thus, B&B’s

   reliance on the All Writs Act as an independent basis for removal of this case is simply wrong as

   a matter of law.

   B.     The Requested Confirmation of the Final Award Does Not Frustrate Implementation
          of the Prior Remand Order of this Court.

          Not only does the All Writs Act fail to provide a basis for removal of this action, but

   nothing about the requested confirmation of the Final Award frustrates the implementation of the

   this Court’s earlier Remand Order. The Supreme Court has stated that “injunctive relief under the

   All Writs Act is to be used ‘sparingly and only in the most critical and exigent circumstances,’”

   when “the legal rights at issue are indisputably clear.” Brown v. Gilmore, 533 U.S. 1301, 1302

   (2001) (Rehnquist, J., in chambers). The “legal rights” B&B contends it is afforded by the Remand

   Order, however, are far from “indisputably clear.” To the contrary, the procedural Remand Order

   resolved only the limited question of federal subject matter jurisdiction over B&B’s claims in the

   B&B Action, and was not conclusive of the arbitrability of either those claims or Pandora’s

   declaratory judgment claims in the DIA

          1. The Procedural, Non-Binding Nature of the Remand Order.

          By virtue of 28 U.S.C. § 1447(d), “An order remanding a case to the State court from which

   it was removed is not reviewable on appeal or otherwise . . . .” Id. As interpreted by the United

   States Supreme Court, this statutory limitation on appellate review applies to any order of remand

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   based on “a defect in removal procedure or lack of subject matter jurisdiction.” Kircher v. Putnam

   Funds Trust, 547 U.S. 633, 640 (2006) (emphasis added) (citing 28 U.S.C. §§ 1447(c) & (d);

   Thermtron Prods. Inc. v. Hermansdorfer, 423 U.S. 336, 343-45 (1976)). A remand order rendered

   non-appealable by Section 1447(d), therefore, is not binding on, and can be revisited by, a state

   court on remand. Id. at 647 (citing Standefer v. United States, 447 U.S. 10, 23 (1980)) (collateral

   estoppel does not bar the state court from revisiting the claims because “§ 1447(d) prevents

   [appellants] from appealing the District Court’s decision”); see also New v. Sports & Recreation,

   Inc., 114 F.3d 1092, 1096 (11th Cir. 1997) (citing In re Decorator Indus. Inc., 980 F.2d 1371,

   1374 (11th Cir. 1992)) (Section 1447(d) generally prevents a federal appellate court from

   reviewing a district court’s order remanding a case back to state court for lack of subject matter

   jurisdiction, “even if the district court’s decision is clearly erroneous.”); Dahlya v. Talmidge, 371

   F.3d 207, 210 (5th Cir. 2004) (federal district court’s order simultaneously granting motion to

   remand and denying motion to compel arbitration under the Convention was only “jurisdictional

   and can be revisited by a state court on remand”). Indeed, “[i]ssues decided by a district court prior

   to remand in remanded claims bear no preclusive effect in subsequent state court proceedings.” In

   re C and M properties, LLC, 563 F.3d 1156, 1166 (10th Cir. 2009); see also Lindner v. Union

   Pacific R. Co., 762 F.3d 568, 571 (7th Cir. 2014) (observing that an order granting leave to amend,

   issued in conjunction with a remand order, was neither “unreviewable” nor the “law of the case”

   because the state courts are free to reject to federal courts’ reasoning on remand).

          In Dahlya, for example, the plaintiff filed a maritime personal injury action in Louisiana

   state court. The defendants removed the case to federal district court based on an arbitration

   agreement that was allegedly subject to the Convention. Id. at 208. The federal district court

   found that the plaintiff’s claims were not subject to arbitration under the Convention. Id. at 209.



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   Accordingly, the district court simultaneously granted plaintiff’s motion to remand for lack of

   subject matter jurisdiction and denied the defendant’s motion to compel arbitration under the

   Convention. Id. The defendants then appealed the district court’s denial of their motion to compel

   arbitration to United States Court of Appeal for the Fifth Circuit. Id. at 210.

          The Fifth Circuit dismissed the appeal finding that the district court’s order remanding the

   case to state court precluded the appellate court from exercising appellate jurisdiction to review

   the simultaneous order denying the defendant’s motion to compel arbitration under the

   Convention. Id. at 211. The Fifth Circuit reasoned:

                  The district court’s refusal to compel arbitration and to stay proceedings is
                  not reviewable under Waco because that refusal was not conclusive. Our
                  precedent “has defined conclusiveness in terms of whether the order was
                  ‘substantive’ or ‘jurisdictional’: if a decision is simply jurisdictional it is not
                  conclusive.” Doleac ex rel. Doleac v. Michalson, 264 F.3d 470, 486 (5th
                  Cir. 2001). . . . In sum, when a district court makes a determination in the
                  process of remanding a case for lack of jurisdiction, that determination is
                  jurisdictional and can be revisited by a state court upon remand.

   Id. at 211(emphasis added); see also Kirchner, supra. (“While the state court cannot review the

   decision on remand in an appellate way, it is perfectly free to reject the remanding court’s

   reasoning.”); see also Harrison v. NCL (Bahamas) Ltd., 691 F.3d 1308, 1312-13 (11th Cir. 2012),

   vacated due to settlement, 707 F.3d 1254 (2013).

          2. The Procedural Remand Order was not Conclusive on the issue Arbitrability of
             Pandora’s Claims in the DIA or B&B’s Claims as Asserted in the B&B Action.

          As in Dahlya, the Remand Order from the B&B Action is procedural, not substantive in

   nature, as it is based on the Defendants’ failure “to meet their burden in establishing that this Court

   has subject-matter jurisdiction.” 247 F.Supp.3d at 1287 (emphasis added). In sharp contrast to

   other cases in which this Court has considered motions to remand and to compel arbitration under

   the Convention simultaneously, this Court’s Remand Order was expressly limited to the briefing



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   on the B&B’s Motion to Remand and did not consider U.S. Defendants’ Motion to Compel

   Arbitration and its supporting Declarations. Compare Id., with Azevedo v. Carnival Corp., No.

   08-20518-CIV, 2008 WL 2261195, at * 2 (S.D. Fla. May 30, 2008) (”Because these motions are

   inextricably intertwined, I will address both motions as one”). Thus, consistent with federal law,

   the Remand Order was not conclusive of the arbitrability of B&B claims, which has since been

   revisited by the State Court in the context of remanded proceedings. Based, in part, on the fact

   that the Remand Order was based on the Affidavit of Mr. Bild, which was subsequently

   contradicted by the admitted absence of any oral agreement between B&B and Pandora Americas,

   the State Court has compelled B&B’s claims in the B&B Action to arbitration in the DIA.

          Just as the Remand Order was not binding on the State Court in deciding the arbitrability

   of B&B’s claims in the B&B Action, the Remand Order did not preclude Pandora A/S from

   seeking a declaration of its rights under the 2012 Agreements in accordance with Danish law.

   (Partial Award ¶¶ 32-56, Petition Ex. 4). As correctly held by the Sole Arbitrator, the question of

   whether the 2012 Agreements expired at the end of the Initial Term or were continued by course

   of performance into the Renewal Term is necessarily a question that must be determined under

   substantive Danish law. (Final Award ¶¶ 148-55., Petition Ex. 1). As explained by one of the

   leading United States scholars on the Convention:

                  A choice-of-law agreement is effective to select the law governing
                  the arbitration agreement even if the party denies the validity or
                  existence of those agreements. That is consistent with general
                  choice-of-law principles, and is the approach applicable to choice of
                  law under Article II [of the Convention]. . . .

   Born, International Commercial Arbitration, 2nd Ed., 2014, Vol. III at 3464. Not only is the

   application of Danish law required by the choice-of-law provision in the 2012 Agreements, it is

   also consistent with the doctrine of lex loci arbitrari, under which the law of the forum of



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   arbitration (i.e., Copenhagen, Denmark) should govern the matter. Id. at 1363-65 (recognizing that

   even in the absence of a choice-of-law provision, the law of the arbitration forum normally governs

   the dispute).

          Further, because the parties incorporated the DIA Rules into their arbitration agreement,

   jurisdiction over the substantive question of Danish law presented by the disputed expiration of

   the 2012 Agreements clearly rested with the arbitrator. As noted by the Sole Arbitrator, “Article

   16(1) of the DIA Rules [provides]: ‘The Arbitral Tribunal shall rule on its own jurisdiction also in

   relation to any objection as to the existence or validity of the arbitration agreement.’” (Partial

   Award ¶ 32, Petition Ex. 4). Thus, the Sole Arbitrator found that: “By incorporating the DIA Rules

   and by choosing Copenhagen as the seat of arbitration, the parties delegated to the Sole Arbitrator

   the right to rule on his own jurisdiction.” (Partial Award ¶ 33, Petition Ex. 4). The Sole

   Arbitrator’s decision in this regard is entirely consistent with the FAA. See Terminix Int’l Co., LP

   v. Palmer Ranch, Ltd., 432 F.3d 1327, 1332 (11th Cir. 2005) (applying similar provision of the

   Commercial Arbitration Rules of the American Arbitration Association) (collecting cases); Senior

   Services of Palm Beach LLC v. ABCSP Inc., Case No. 12-80226-CIV, 2012 WL 2054971, at * 3

   (S.D. Fla. June 7, 2012) (same).

          This Court’s Remand Order did not even address, much less form a final judgment on the

   merits of, the underlying question of Danish law—i.e., whether the 2012 Agreements expired in

   2015 or continued by course of performance into the Renewal Term, expiring on July 31, 2017.

   Similarly, the Remand Order did not deprive the arbitrator of jurisdiction to make a final

   determination on that issue. As the Sole Arbitrator properly exercised jurisdiction over and

   decided that issue on the merits, confirmation of the Final Award in favor of Pandora neither




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   contravenes, nor frustrates the implementation of the earlier Remand Order. Thus, the All Writs

   Act is inapplicable to this case.

   C.     This Court Should Strike References to the All Writs Act in the Notice of Removal

          As the All Writs Act does not provide grounds for removal and is otherwise inapplicable

   to this case, all references invoking the statute in the Notice of Removal form an insufficient

   defense and are immaterial to this case and, therefore, should be stricken. Specifically, this Court

   should strike paragraphs 7 and 19-25 of the Notice of Removal.

                                                CONCLUSION

          WHEREFORE, this Court should enter the attached Order finding that the All Writs Act

   does not provide a basis for removal of this action and striking those portions of the Notice of

   Removal invoking the All Writs Act. This case should proceed with the merits of Pandora’s

   Petition to Confirm the Final Award in accordance with Sections 205 and 207 of the Convention.




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   Dated: April 4, 2018                                Respectfully submitted,

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                                                       & Pandora Jewelry, LLC

                                  CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that a true and correct copy of the foregoing was served by

   electronic mail via the Court’s ECF system, on April 4, 2018, on all counsel or parties of record

   on the service list.


                                               By: /s/ Manuel A. Garcia-Linares
                                                       Manuel A. Garcia-Linares



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                                          SERVICE LIST
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